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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                                     )
 IN RE: JOHNSON & JOHNSON            )
 TALCUM POWDER PRODUCTS              )
 MARKETING, SALES PRACTICES AND )                   MDL No. 2738 (MAS) (RLS)
 PRODUCTS LIABILITY LITIGATION       )
 ___________________________________ )
                                     )
 This Document Relates To All Cases  )
                                     )

 [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO STRIKE
       PLAINTIFFS’ IMPROPER SUPPLEMENTAL REPORTS

       THIS MATTER, having been opened to the Court by Defendants for entry

 of an order (1) striking the expert reports of Drs. Cote, Harlow, Rothman and

 Newman in full; (2) striking the case-specific portion of Dr. Levy’s new report; and

 (3) requiring Drs. Singh, Siemiatycki, Smith-Bindman, McTiernan, Longo and

 Kessler to submit supplemental reports that only address scientific and other

 developments after July 2021, and the Court having considered the submissions of

 the parties and having heard oral argument, and for good cause shown:

       IT IS on this ___ day of ______________________, 2024

       ORDERED as follows:

       1.    Defendants’ Motion to Strike Plaintiffs’ New Expert and Supplemental

 Reports filed on December 13, 2023 is hereby GRANTED.

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       2.      The following reports are hereby STRICKEN IN FULL and shall not

 be considered or relied on in further proceedings:

            a. The Expert Report of Michele L. Cote, Ph.D., M.P.H., dated November

               15, 2023;

            b. The Expert Report of Bernard L. Harlow, Ph.D. and Kenneth J.

               Rothman, Dr.P.H., dated November 15, 2023; and

            c. The Expert Report of George E. Newman, Ph.D., dated November 15,

               2023.

       3.      The case-specific portion of the Amended Rule 26 Expert Report of

 Shawn Levy, PHD, dated November 15, 2023 is hereby STRICKEN and shall not

 be considered or relied on in further proceedings.

       4.      The following reports are hereby STRICKEN IN FULL and shall not

 be considered or relied on in further proceedings. However, the authors of the

 following reports may submit supplemental reports that only address scientific

 developments after July 2021 within ____ days of the entry of this Order:

            a. The Supplemental Expert Report of Sonal Singh, MD, MPH, dated

               November 15, 2023;

            b. The Second Amended Expert Report of Jack Siemiatycki, MSc, PhD,

               dated November 15, 2023;




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          c. The Second Amended Expert Report of Rebecca Smith-Bindman, MD,

             dated November 15, 2023;

          d. The Second Amended Expert Report of Anne McTiernan, MD, Ph.D.,

             dated November 15, 2023;

          e. The 3nd (sic) Supplemental MDL Report of William E. Longo, Ph.D..

             dated November 17, 2023; and

          f. The Expert Report of David A. Kessler, M.D., dated November 15,

             2023.



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                                            Hon. Rukhsanah L. Singh, U.S.M.J.




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